                 Case 18-11625-KJC              Doc 2      Filed 07/10/18         Page 1 of 49



                       IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                     ) Chapter 11

         TINTRI,INC.,1                                     ) Case No.: 18-11625(`)

                                    Debtor.                )


   DECLARATION OF ROBERT J. DUFFY IN SUPPORT OF FIRST DAY MOTIONS

                 I, Robert J. Duffy, hereby declare that the following is true to the best of my

knowledge, information and belief:

                  1.         I am the Chief Restructuring Officer of the above-captioned debtor and

debtor in possession ("Tintri" or the "Debtor"). I submit this declaration (the "Declaration") in

support of the Debtor's petition and "first day" motions and pleadings, described further below

(collectively, the "First Day Motions"). Except as otherwise indicated, all statements in this

Declaration are based upon my personal knowledge, my review of the Debtor's books and

records, relevant documents and other information prepared or collected by the Debtor's

employees, or my opinion based on my experience with the Debtor's operations and financial

 condition. In making my statements based on my review of the Debtor's books and records,

 relevant documents and other information prepared or collected by the Debtor's employees, I

 have relied upon these employees accurately recording, preparing or collecting such

 documentation and other information.




                                                                                                         headquarters
' The Debtor and the last four digits of its taxpayer identification number is: Tintri, Inc.(6978). The
                                                                                                 California 94043.
and service address for the above-captioned Debtor is: 303 Ravendale Drive, Mountain View,


 DOGS SF:96976,7 83990/001
                 Case 18-11625-KJC          Doc 2    Filed 07/10/18     Page 2 of 49



                 2.         I am and have been a Managing Director with $erkeley Research Group,

LLC("$RG"), effective as of May 24, 2016. BRG is a prpfessional services firm with an office

located at 2200 Powell Street, Suite 1200, Emeryville, California 94608.

                            BRG's practice consists of senior financial, management consulting,

accounting, and other professionals who specialize in providing financial, business, and strategic

assistance typically in distressed business settings. BRG serves troubled companies, debtors, and

secured and unsecured creditors, equity holders, and other parties in both in-court and out-of-

court engagements similar to the Debtors in the State of Delaware and elsewhere. BRG's

professionals have experience working on cases with similar fact scenarios in which they were

presented with issues and performed analyses similar to the work at hand in this case.

                  4.        Before joining $RG in 2016, I spent fourteen(14) years at FTI

Consulting, Inc. and fourteen (14) years at PricewaterhouseCoopers. Most recently before

joining BRG,I was the Global Practice Leader ofthe FTI Consulting Corporate

Finance/Restructuring practice having joined FTI Consulting, Inc. following its 2002 acquisition

of the restructuring practice at PricewaterhouseCoopers. Between 1988 and 2002,I worked in

restructuring at PricewaterhouseCaapers and was as a Partner at the time of the sale of its

restructuring practice to FTI Consulting, Inc. in `2002. I have over thirty years of experience in

the restructuring industry serving as an advisor to private equity firms, corporations, lenders and

boards of directors of underperforming businesses and companies in transition. I have an

undergraduate degree from Babson College and a MBA degree from the Kellogg Graduate

School of Management at Northwestern University. Among other organizations, I have been




DOCS SP:96976.7 83990/001                            2
                 Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 3 of 49



active in American Bankruptcy Institute, Turnaround Management Association and Association

of Insolvency Accountants. I am a Fellow ofthe American College of Bankruptcy.

                  5.        If I were called to testify as a witness, I could and would competently

testify to each of the facts set forth herein based upon my personal knowledge, review of

documents, or opinion. I am authorized to submit this Declaration an behalf of the Debtor.

                  6.        Part I of this Declaration describes the business of the Debtor, the

developments that led to its filing for relief under chapter 11 of title 11 of the United States Code

(the "Bankruptcy Code"). Part II sets forth the relevant facts in support ofthe First Day Motions

filed by the Debtor concurrently herewith in support of its chapter 11 case.

                                                   PART I

                                             BACKGROUND


A.       Description and History of the Debtor's Business

                  7.        Tintri is an enterprise cloud storage company founded in 2008 with the

initial objective to solve the mismatch caused by using old, conventional physical storage

systems with applications in virtual machine(VM)environments. The company created storage

products that are optimized for virtualization and cloud computing platforms. Over time, the

company has expanded its focus to also address the cloud needs of enterprise customers. Its

customers include leading enterprises across a broad range of industry segments, including

education, financial services and insurance, healthcare, manufacturing and automotive

technology, as well as cloud service providers (CSPs). As of January 31, 2018, Tintri's customer

base consisted of more than 1,500 customers, including seven ofthe top 15 Fortune 100




DOGS SF:96976.7 83990/001                             3
                 Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 4 of 49



companies and 21 of the Fortune l OQ cgmpanies. Tintri's customers include Avaya, Cgmcast,

SONY,Toyota, Chevron, NASA and AMD. Tintri is headquartered at 3p3 Ravendale Drive,

Mountain View, California 94043. The company has additional locations in McLean, Virginia;

Chicago, Illinois; London, England; Munich, Germany; Singapore; and Tokyo, Japan.

                  8.        The Debtor provides large organizations and cloud service providers with

an enterprise cloud platform that offers public cloud capabilities inside their own data centers

and that can also connect to public cloud services. Its enterprise cloud platform delivers many of

the benefits of public cloud infrastructure and also gives organizations the control and

functionality to run both enterprise and cloud-native application in their own private cloud.

                  9.        The Debtor's customers use its enterprise cloud platform for a variety of

workloads and use cases, including virtualized desktop infrastructure (VDI), development and

test environments(DevOps), which are sometimes referred to as Continuous Integration

Continuous Delivery (Cl/CD), and other virtualized workloads, including virtualized servers,

databases, and mixed workloads. The Debtor's software products are sold separately from its

core enterprise cloud platform solution, enabling customers to tailor their infrastructure to their

specific needs.

                  10.       The Debtor's revenues are generated from the sales of products and

related support and maintenance offerings. Product revenue, which is generally recognized upon

shipment, is derived from sales of all-flash and hybrid storage systems and stand-alone software

licenses for use in connection with the Debtor's systems. While purchasing support is not

mandatory, substantially all products are purchased together with a support contract, which

includes software patches, bug fixes, updates, upgrades, hardware repair and replacement parts,


DOCS SF:96976.7 83990/001                            4
                 Case 18-11625-KJC            Doc 2     Filed 07/10/18       Page 5 of 49



and technical support. Support and maintenance revenue is recognized over the term of the

support contracts. Tp date, substantially all customers either renew their support and

maintenance subscriptions pr purchase new support and maintenance subscriptions together with

replacement products. The average length ofthe Debtor's support and maintenance contracts is

approximately two years.


B.       Debtor's Prepetition Capital Structure

         The SVB Loan Agreeitient

                  11.       The Debtor and Silicon Valley Bank("SVB")are parties to an Amended

and Restated Loan and Security Agreement dated as of Apri130, 2018 (as amended, modified or

supplemented from time to the time, the "Pre~etition Revolving Loan Agreement.")2 Pursuant to

the Prepetition Revolving Loan Agreement and associated documentation the Debtor borrowed

certain funds under a revolving credit facility tied to the Debtor's eligible accounts receivable up

to a maximum principal amount of $12.5 million with a maturity date of May 2, 2019.

                  12.       As of the Petition Date, approximately $4,708,073 remains outstanding

under the Prepetition Revolving Loan Agreement, comprised of4,708,073 in outstanding

principal obligations, plus additional amounts on account of accrued and unpaid interest, fees,

costs and charges.

                  13.       Subject to certain validly perfected prior liens (i.e., Permitted Liens), the

obligations under the Prepetition Revolving Loan Agreement are secured by a first priority,

senior lien on substantially all personal property ofthe Debtor, including all ofthe Debtor's

Z The Prepetition Revolving Loan Agreement is an amendment and restatement in its entirety ofthat certain Loan
and Security Agreernent dated as of May 14, 2013.



DOGS SF:96976.7 83990/001
                 Case 18-11625-KJC             Doc 2      Filed 07/10/18        Page 6 of 49



intellectual property rights and assets3 and all cash collateral as defined in section 363(a) ofthe

Bankruptcy Code ("Gash Collateral")

        The TriplePoint Loan Agreement

                  14.       The Debtor and TriplePoint Capital LLC ("TriplePoint") are parties to a

Plazn English Growth Capital Loan and Security AgNeement dated as of February 6,2015 (as

amended, modified or supplemented from time to the time, the "Prepetition Term Loan

Agreement."). Pursuant to the Prepetition Term Loan Agreement and associated documentation

the Debtor borrowed certain funds under a series of growth capital promissory notes in the

aggregate original principal amount of $50 million with a maturity date of August 31, 2019.

                  15.       As of the Fetition Date, approximately $56,485,521 remains outstanding

under the Prepetition Term Loan Agreement, comprised of $50,000,000 in outstanding principal

obligations, plus additional amounts on account of accrued and unpaid interest, fees, costs and

charges.

                  16.       Subject to certain validly perfected prior liens (i.e., Permitted Liens), the

obligations under the Prepetition Term Loan Agreement are secured by a first priority, senior

lien on substantially all personal property ofthe Debtor, including all of the Debtor's intellectual

property rights and assets4 and all Cash Collateral.

                  17.       SVB and TriplePoint are parties to that certain Subordination Agreement

dated as of February 6, 2015 (as amended, modified or supplemented from time to the time, the

"Subordination Agreement"). Pursuant to the Subordination Agreement, the parties agreed,

3 The Debtor and SVB are also parties to that certain Intellectual Property Security Agreement, dated as of
December 10, 2014, as amended and supplemented from time to time.
4 The Debtor and TriplePoint are also parties to that certain Plan English Intellectual Property Security Agreement
dated as of February 6, 2015, as amended and supplemented from time to time.


DOCS SP:96976.7 83990!001                                6
                 Case 18-11625-KJC          Doc 2     Filed 07/10/18    Page 7 of 49



among other rights and obligatipns, that TripleFoint's rights to payment and performance under

the Prepetition Term Loan Agreement and all liens and security interests securing such debt

would ~e subordinated to SVB's rights tp full and prior payment and performance under the

Prepetition Revolving Loan Agreement.

         The Convertible Notes

                  18.       The Debtor and certain investors are parties to a Note Purchase Agreement

dated as of May 4, 2017(as amended, modified or supplemented from time to the time, the

"Prepetition Note Agreement."). Pursuant to the Prepetition Note Agreement, the Debtor

borrowed certain funds under a series of subordinated, unsecured convertible promissory notes in

the aggregate original principal amount of$25 million with a maturity date of August 20, 2019

(the "Convertible Notes").

                  19.       The Convertible Notes are contractually subordinated to the Debtor's

obligations under the Prepetition Revolving Loan Agreement as well as the Prepetition Term

Loan Agreement.

         Other Indebtedness

                  20.       As of June 30, 201 ~, the Debtor has certain outstanding purchase money

or capital lease indebtedness in the aggregate principal amount of approximately $144,000 that is

secured by the Debtor's equipment. In particular, the Debtor is a party to certain unexpired

leases for (a) Kyocera copiers, scanners and printers (three agreements with an aggregate

monthly payment of approximately $1,056), and (b) Cisco Systems networking and computer

equipment(one agreement with a monthly payment of approximately $7,304).




DOCS SF:96976.7 83990/001                            7
                 Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 8 of 49



                 21.        As of the Petition Date,the Debtor's preliminary estimate of general

unsecured debt totals approximately $x,800,000 millign, which estimate is subject to change and

includes potential unliquidated and/or contingent claims.

                 22.        The Debtor's common stock was publicly listed on the NASDAQ

exchange in June 2017 under the trading symbol "TNTR." As of the Petition Date, the Debtor

had issued approximately 33,920,522 million shares of common stock to approximately 83

shareholders of record and approximately six beneficial holders.

                  23.       The Debtor's cash balance as of the Petition Date in its deposit and

securities accounts totals approximately $200,000.
B.      Events Leading to the Bankruptcy Filing
        and Commencement of the Chapter 11 Case

                  24.       The company's revenue increased from $86 million in fisca12016 to

$125.1 million in fisca12017, and to $125.9 million in fisca12018, representing year-over-year

growth of45%and 1%,respectively. The company's net loss was $101.0 million, $105.8

million, and $157.7 million in fisca12016, 2017, and 2018, respectively. Total assets decreased

from $158.1 million as of the end offisca12016 to $104.9 million as of the end offisca12017,

and to $76.2 million as of the end of fiscal ZU 18, representing year-over-year change of 34% and

27%,respectively. The company attributed flat revenue growth in fisca12018 in part due to

delayed and reduced purchases of products as a result of customer concerns about Tintri's

financial condition, as well as a shift in its product mix toward lower-priced products, offset

somewhat by increased support and maintenance revenue from its growing installed customer




DOGS SF:96976.7 83990/001                             g
                 Case 18-11625-KJC          Doc 2     Filed 07/10/18    Page 9 of 49



base. Ultimately, the company's sales levels have not experienced a level of growth sufficient to

address its cash burn rate and sustain its business.

                  25.       Following the company's initial public offering in July 2017,four class

action lawsuits were filed against it. In September 2017, a class action lawsuit was commenced

in the United States District Court for the Northern District of California under the caption Tuller

v. Tintri, Inc. et al., No. 4:17- CV-05714-YGR (filed September 18, 2017). A consolidated

complaint has been filed in the Tuller action, which, in addition to the Debtor, names as

defendants its then-Chief Executive Officer, then-Chief Financial Officer, and Chief Technology

Officer, and alleges violations of the Securities Act of 1933. Three substantially similar lawsuits

were subsequently filed in California state court in the County of San Mateo against the same

parties, as well as the then-serving members of the Board, the underwriters of the company's

initial public offering, and entities associated with several institutional investors that invested in

Tintri prior to the initial public offering. These suits alsp allege violations of the Securities Act

of 1933, and are. captioned Clayton v. Tintri, Inc. et al., No. 17CIV04312 (filed September 20,

2017), Nurlybayev v. Tintri, Inc. et al., No. 17CIV04321 (filed September 21, 2017), and Golosiy

v. Tintri, Inc. et al., Na. 17CIV0461 ~ (filed October 6, 2017). The actions have yet to be

consolidated and a consolidated complaint has yet to be filed. All four class action lawsuits are

in their initial stages and are based on similar allegations that the company made false and

misleading statements in the registration statement and prospectus filed with the SEC in

connection with its initial public offering (IPO). Each lawsuit is purportedly brought on behalf

of a putative class of all persons who purchased shares of common stock pursuant or traceable to




DOCS SF:96976.7 83990/001                            9
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 10 of 49



the initial public offering, and seeks, among other things, compensatory damages and attorney's

fees and casts on behalf of the putative class.

                 26.        The company's IPO raised less capital than anticipated. Tintri's orders for

new products declined, it lost a few key customers and, consequently, its declining revenues led

to the company's difficulties in meeting day-to-day expenses, as well as long-term debt

obligations. A few months after its IPO,in December 2017, Tintri announced that it was in the

process of considering strategic options and had retained investment bank advisors to assist it in

this process.

                 27.        In March 2018, the Board approved a restructuring and reduction in force

plan of approximately 20% of the Debtor's global workforce.

                 28.        On June 15, 2018, Tintri filed a form 8-K with the Securities and

Exchange Commission, indicating that, as of Apri130, 2p18, and May 31, 2Q18, Tintri held

aggregate cash and cash equivalents of$30.9 million and $11.5 million, respectively. It stated

that, based on the company's current cash projections, and regardless of whether its lenders were

to choose to accelerate the repayment ofthe company's indebtedness under its credit facilities,

the corripany likely did nat have sufficient liquidity to continue its operations beyond June 30,

2018. The company also cautioned that, even if it were able to successfully pursue a sale

transaction, there was a significant possibility that the company may file for bankruptcy

protection, which could result in a complete loss of shareholders' investment.

                  29.       As of April 30, 2018, the company had $15.4 million of principal

indebtedness outstanding under its line of credit with SVB,and $50.0 million under its credit

facility with TriplePoint, and lacked borrowing capacity available under either credit facility.


DOCS SF:96976.7 83990/001                            1~
                Case 18-11625-KJC            Doc 2     Filed 07/10/18     Page 11 of 49




Since May 31, 2018, the company was npt in compliance with certain financial and other

cpvenants under these credit facilities. In its form 8-K, the company revealed that it then did not,

and may not in the future, have sufficient liquidity tq repay amounts outstanding under its debt

facilities should they become immediately due and payable.

                 30.        The company's financial condition led existing and potential customers

and suppliers to express concerns regarding the company's financial condition, which negatively

impacted the company's ability to sell and ship products and services. The company's financial

condition also adversely affected its ability to continue to attract and retain key personnel and

other employees. Due to continued deterioration in the Debtor's cash flow, the Debtor, following

consultation with its advisors and other professionals, determined that the best course of action

under the present circumstances would be to file a Chapter 11 petition and to seek the Court's

approval for the prompt sale of substantially all its assets.


C.      The Debtor's Sale of Assets

                  31.       Shortly after the filing of the petition, the Debtor plans to file a motion

seeking approval of the sale of its assets and bid procedures. Prior to the Petition Date, the

Debtor and its advisors have been marketing the company as a going concern. The Debtor will

continue its efforts to sell its assets as a going concern but if that is not feasible the Debtor will

seek to sell all or substantially all of its intellectual property portfolio and related assets.




DOCS SF:96976.7 83990/001                             11
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 12 of 49



                                                  PART II

                            FIRST I)AY MQTIONS AND APPLICATIONS

                 32.        In grder to enable the Debtor to minimize the adverse effects of the

cpmmencement of the chapter 11 case, the Debtor has requested various types of relief in the

First Day Motions filed simultaneously with this Declaration. A summary of the relief sought in

each First Day Motion is set forth below.

                 33.        I have reviewed each of these First Day Motions (including the exhibits

and schedules thereto). The facts stated therein are true and correct to the best of my knowledge,

information and belief, and I believe that the type of relief sought in each ofthe First Day

Motions: (a)is necessary to enable the Debtor to operate in chapter 11 with minimal disruption;

and (b)is essential to maximizing the value of the Debtor's assets for the benefit of their estates

and creditors.

D.      Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105,361,
        362,363,364 and 507(i) Approving Postpetition Financing,(ii) Authorizing
        Use of Cash Collateral,(iii) Granting Liens and Providing Superpriorit~
        Administrative Expense Status,(iv) Granting Adequate Protection,
        (v) Modifying Automatic Stay,(vi) Granting Related Relief, and
        (vii) Scheduling a Final Hearin~L("DIP Financing Motion")

                  34.       On July 9, 2018, the Debtor executed the definitive documentation set

forth in that certain Superpriority Secured Debtor-in-Possession Credit Facility Term Sheet dated

July 9, 2018 (the 66DIP Term Sheet"). Pending the final hearing and entry ofthe final order

regarding its financing, the Debtor seeks authority to obtain credit and incur debt(the "DIP

Loans") on an interim basis under.the. DIP Term Sheet which is attached as Exhibit"A"to the

DIP Financing Motion.




DOCS SF:96976.7 83990/001                            i2
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 13 of 49



                  35.       Prior to the Petition Date, the Debtor and its advisors canvassed various

sources of prospective postpetition financing, including financing from the company's existing

lenders and other third parties. In particular, BRG requested a binding commitment from

TriplePoint (the Debtor's second lien term loan lender) and then used that proppsal in order to

solicit alternative indications of interest from other potential lenders. SVB (the Debtor's first

lien revolving loan lender), indicated that it was not willing to extend additional credit to the

Debtor but has agreed, to participate with TriplePoint in the proposed DIP Loans by allowing

limited ongoing borrowings by the Debtor pursuant to the terms of the Prepetition SVB

Documents.

                  36.       None of the parties contacted by the Debtor expressed an interest in

providing postpetition financing. Simultaneously, during this time, the Debtor continued to

negotiate with TriplePoint to obtain the most favorable lending terms for the benefit ofthe estate.

In considering its options, the Debtor recognized that the pre-petition obligations owed to SVB

and TriplePoint are secured by substantially all of the Debtor's property and that such liens

would either have to be primed in order to obtain postpetition financing or the Debtor would

need to locate a lender willing to extend credit that would be junior to the liens of SIB and

TriplePoint. Borrowing from another postpetition lender that required security senior to that of

SVB and TriplePoint likely could only be accomplished through an extended, contested hearing

on whether the requirements of section 364(d) of the Bankruptcy Code had been satisfied.

                  37.       Following the Debtor's careful evaluation of TriplePoint's financing

proposal, and the Debtor's ability under that proposal to meet its post-petition budgeted

obligations for the period contemplated therein, and in light ofthe risks involved, the fees and


DOGS SF:96976.7 83990/001                            1~
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 14 of 49



expenses that would be incurred, and economics offered by the proposed DIP Lender, the Debtor

determined that the proposed DIF-Term Sheet is the best financing available under the

circumstances.

                 38.        The Debtor, the DIP Lender and SVB engaged in extensive, arm's length

negotiations with respect to the terms and conditions of the proposed DIP Credit Facility and the

use of Cash Collateral in accordance with its sound business judgment. The Debtor and its

advisors as at BRG directly handled the evaluation and negotiation of the various DIP financing

drafts and the ensuing DIP Term Sheet(with input on certain operational and corporate issues

from officers of the Debtor). The DIP Term Sheet has been entered into by the Debtor and the

DIP Lender without collusion, as a result of vigorous, well-advocated negotiation and with each

of the parties represented by independent counsel and advisors. The DIP Term Sheet permits the

Debtor to request the advance of the Interim DIP Loan from the DIP Lender and use Cash

Collateral of the Pre-Petition Lenders pending this Court's entry ofthe Final Order. I believe

that this interim commitment will ensure that the Debtor will be able to meet its administrative

obligations during the early stages ofthe Chapter 11 Case as well as provide adequate liquidity.

to operate its. business.

                  39.       The Debtor's budget has been carefully crafted to provide the Debtor with

the minimum liquidity required to prudently operate its business and meet their anticipated post-

petition operating and non-recurring expenses. The amounts that the Debtor seeks to borrow

under• the interim order approving the DIP financing reflect the payment of expenses that, in my

business judgment, are necessary to avoid immediate and irreparable harm to the estate pending

the final hearing to approve the DIP financing.


ROCS SF:96976.7 83990/001                           14
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 15 of 49




                 40.        The Debtor seeks an emergency interim hearing (the "Interim Hearing")

on the DIP Financing Motion for the Court to consider entry of an interim order, which

authorizes the Debtar to (x) borrgw under the DIP Term Sheet on an interim basis, up t4 an

aggregate principal amount not to exceed $2,952,000 and up to $5,493,000 on a final basis, and

(y) use cash collateral on an interim basis in accordance with the Approved Budget. The Debtor

also seeks to schedule a final hearing on the DIP Financing Motion within thirty (30) days after

the petition date to consider entry of the final order authorizing the balance ofthe borrowings

under the DIP Term Sheet and authorizing the Debtor to use cash collateral in accordance with

the Approved Budget on a final basis.

                 41.        The DIP Term Sheet and the proposed Interim Order also contemplates a

modification of the automatic stay (to the extent applicable) to permit the Debtor to (a) grant the

liens and superpriority claims described above to the DIP Lender and to perform such acts as

may be requested to assure the perfection and priority of such liens;(b) permit the DIP Lender to

exercise, upon the occurrence and during the continuance of an Event of Default(as defined in

the DIP Term Sheet) and after three business days' notice thereof, its rights and remedies under

the T3I]P Term Sheet; and (c)to otherwise irriplement the terms of the proposed DIP Orders. Stay

modifications of this kind are ordinary and standard features of postpetition debtor financing

facilities and, in my business judgment, are reasonable and fair under the present circumstances.

                  42.       Upon entry ofthe Final Order, and subject to the terms and conditions set

forth in the DIP Term Sheet, the Debtor will be permitted to request the final two advances under

the DIP Credit Facility up to an aggregate amount not to exceed the Maximum Commitment, less

the amount of the Interim DIP Loan. The Debtor, the DIP Lender and SVB have agreed upon


ROCS SF:96976.7 83990/001                           15
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 16 of 49




the Approved Budget, projecting cash flow for the expected duration ofthis case. This budget

contemplates that the Debtor will have use of Cash Collateral during that time. The Debtor

believes that the Approved Budget is achievable and will allow the Debtor to operate without the

accrual of unpaid administrative expenses.

                 43.        Importantly, the DIP Term Sheet also provides critical assurances to the

Debtor's employees that the company's aggregate payroll expenses(commencing on the Petition

Date through the Final Closing Date, i.e., the first month of the Chapter 11 Case) will be

reserved in advance(upon entry ofthe Interim Order), by a deposit to the Payroll Reserve. I

believe that this funding will provide a key incentive to the Debtor's workforce to remain with

the company during the sale process. On the Final Closing Date, the Debtor will make a similar

deposit to the Payroll Reserve to provide assurances that the Debtor's additional projected

.Payroll Expenses (as that term is used in the DIP Term Sheet), will be met.for the period from

such date through the Outside Date. Absent these pre-funding assurances, I believe that the

Debtor would suffer further employee attrition over the course of the Chapter 11 Case that will

be extremely deleterious to its sale efforts. The DIP Lender and SVB are each willing to make

phis significant accommodation in order t~ allay any concerns among the Debtor's workforce that

the company's payroll obligations will not be satisfied.

                  44.       Approval of the DIP Term Sheet and authorization for the use of Cash

Collateral will provide the Debtor with immediate and ongoing access to cash to ensure payment

of its operating expenses for the anticipated duration of the Chapter 11 case. Without

authorization to enter into the DIP Term Sheet and to use Cash Collateral, the Debtor will suffer

material deterioration in employee, vendor and customer confidence as such constituencies may


DOCS SP:96976.? 83990/001                            16
                Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 17 of 49



harbor doubt with respect to the Debtor's liquidity and ability to sustain operations until the

consummation of a Sale. Thus, the implementation of the DIP Term Sheet and authorization to

use cash collateral will promote a successful Sale and maximize value for the Debtor's estate.

Accordingly, I believe that the timely approval of the relief requested herein is imperative.

                 45.        I believe the borrowing under the DIP Term Sheet is critically necessary to

preserve and enhance the value of the Debtor's estate for the benefit of all stakeholders in this

chapter 11 case. In addition, the availability under the DIP Term Sheet will provide confidence

to the Debtor's vendors and will be viewed favorably by the Debtor's employees (particularly in

light of the assurances given by the DIP Lender that Payroll Expenses will be reserved in

advance), thereby aiding in the administration of the case and promoting a successful

reorganization. Accordingly, I believe the timely approval ofthe relief requested in the DIP

Financing Motion is imperative and should be approved.

                  46.       I further believe that the Debtor has met the requirements of the

Bankruptcy Code to obtain the DIP financing because the Debtor is unable to obtain credit

otherwise, relevant secured creditors are adequately protected, and the proposed financing is in

the best interests of the estate. The orderly liquidation of the Debtor's business is not possible

without access to sufficient working capital and liquidity through the incurrence of postpetition

financing under the DIP Term Sheet and the use of Cash Collateral. The use of Cash Collateral

alone is insufficient to meet the Debtor's postpetition liquidity needs. I believe that the Debtor is

unable to obtain (a) adequate unsecured credit,(b) adequate credit secured by (i) a senior lien on

unencumbered assets ofthe Debtor's estate and (ii) a junior lien on encumbered assets, or(c)

secured credit from sources other than the DIP Lender on terms more favorable than the terms of


DOCS SF:96976.7 83990/001                            17
                Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 18 of 49




the DIP Term Sheet. I also believe that the only source of secured credit available to the Debtor,

other than the use of Cash Collateral, is the DIP Term Sheet. After considering all of the

Debtor's alternatives, I believe that the financing tp be provided by the DIP Lender pursuant to

the terms of the DIP Term Sheet represents the best financing presently available to the Debtor.

                 47.        Moreover, I understand that the loan terms and pricing provided under the

DIP Term Sheet are within the range of comparable financing arrangements recently effectuated

in other chapter 11 cases. The other terms and conditions of the DIF Term Sheet are the best

possible under the circumstances of these cases, and were negotiated in good faith and at arm's-

length with all parties represented by experienced counsel. Accordingly, the DIP Lender should

be provided with the benefit and protection of section 364(e) ofthe Bankruptcy Code, such that

if any of the provisions of the DIP Term Sheet are later modified, vacated, or terminated by

subsequent order of this or any other Court, the DIP Lender will be fully protected with respect

to any amounts previously disbursed.

                  48.       I also believe that the proposed "roll up" of the Debtor's obligations under

the Prepetition TriplePoint Documents that is contemplated by the DIP Term Sheet is appropriate

under the circurrrstances and wzli not prejudice the Debtor or its estate. The validity,

enforceability and priority of the liens granted by the Debtor under the Prepetition TriplePoint

Documents is subject to the "challenge" rights of a statutory committee. Hence, insofar as the

roll-up of the Prepetition TriplePoint Documents is premised upon the validity of the liens

granted by the Debtor under such documents, a committee will have an opportunity to examine

the propriety of such validation.




ROCS SF:96976.7 83990/001                            1g
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 19 of 49



                 49.        In addition, the Debtor satisfies the standard under the $ankruptcy Code to

obtain financing that is secured by a "priming lien" that is senior or equal to existing liens

against property of the estate. Here, the priming lien granted to the DIP Lender is subordinate to

the SVB Liens. Moreover, SVB has not only consented to the relief requested in the DIP

Financing Motion, but its interests in the DIP Collateral are protected by the adequate protection

relief proposed herein. I also believe that the Debtor has satisfied the standard under the

Bankruptcy Code for use of cash collateral because SVB consents to the Debtor's use of Cash

Collateral on the terms set forth in the Approved Budget and the DIP Financing Motion.

                  50.       I believe that the authorization to obtain the DIP Loans and use of Cash

Collateral pending a Final Hearing will preserve the value of the Debtor's business only if

authorization is granted immediately. In this instance, the Debtor must have immediate use of

the funds provided under the DIP Term Sheet and the Cash Collateral to the extent contemplated

herein to pay its ongoing operational expenses and to maximize the value ofthe estate. Funds

are urgently needed to meet all of the Debtor's liquidity needs and to administer the case in an

orderly and efficient manner. In the absence of immediate postpetition financing, I believe that

the Debtor's ability to preserve the value of its assets will be immediately and irreparably

jeopardized, resulting in significant harm to the estate and its constituents. The Debtor seeks

authorization on an interim basis to boi~'ow up to $2,952,000 under the DIP Term Sheet and to

use Cash Collateral for the purposes set forth in the Approved Budget pending the Final Hearing.

I believe that interim relief requested in the DIP Financing Motion, pending the Final Hearing, is

necessary, appropriate and fully warranted,.and is essential to avoid immediate and irreparable

harm to the Debtor and its creditors.


ROCS SF:96976.7 83990/001                            19
                 Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 20 of 49



                  51.        I believe that the Debtor's goal of a successful sale can be achieved only if

the Debtor is immediately authorized to use cash collateral and to borrow up tp $5,493,000 under

the DIP Term Sheet and to use such proceeds to operate its business. The Debtor is unable to

prpcure sufficient financing in the form of unsecured credit allowable under section 503(b)(1), as

an administrative.expense under section 364(a) or (b), or in exchange for the grant of a

superpriority administrative expense claim pursuant to section 364(c)(1).

E.       Motion for Order Undei• Sections 105,345,363,364,503, 1107 and 1108
         of the Bankruptcy Code Authorizing (i) Maintenance of Existing Bank
         Accounts;(ii) Continuance of Existing Cash Management System,Bank Accounts,
         Checks and Related Foi•ms; (iii) Continued Performance of Intercompany
         Transactions;(iv) Limited.Waiver of Section 345(b) Deposit and Investment
         Requirements and (v) Granting Related Relief("Cash Management Motion")

                  52.        The Debtor seeks authority to (a) maintain its existing bank accounts and

to pay any prepetition routine banking fees imposed by the financial institutions where the

Debtor's bank accounts are maintained and to continue to use its existing business forms and

check stock;(b)continue to use the existing Cash Management System, as provided in the Cash

Management Motion;(c) continue to perform.intercompany transactions; and (d) obtain a limited

waiver of the requirements pursuant tp section 345(b) of the Bankruptcy Code to the extent

required.

                  53.        The Debtor's Cash Management System facilitates the timely and efficient

collection, management, and disbursement offunds used in the Debtor's business. The Cash

Management System currently consists of nine (9) bank accounts. The Cash Management

System is designed to effectuate the collection of revenue.from customers, pay operating

expenses, and maintain payroll obligations. Any disruption caused by requiring the Debtor to




DOC:S SF:96976.7 83990/001                             2~
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 21 of 49




close its existing bank accounts, open new bank accounts and establish a new cash management

system would jeopardize the Debtor's ability to satisfy postpetition obligations and maintain

their relationships with customers.

                 54.        All of the accounts are with SVB, which is approved as a depository for

funds of debtors in possession by the United States Trustee for Region 3. In addition, the

depository accounts are FDIC insured. Thus, the funds maintained in the depository accounts are

not at risk.

                 55.        Consequently, I believe that maintaining the existing Cash Management

System and approval ofthe Cash Management Motion is not only essential, but is in the best

interests of the Debtor's estate, its creditors, and parties in interest.

F.      Motion for Interim and Final Qrders(a) Approving the Debtor's Proposed
        Adequate Assurance of Payment for Future Utility Services,(b)Prohibiting
        Utility Companies from Altering, Refusing, or Discontinuing Services,(c)
        Approving the Debtors' Proposed Procedures for Resolving Adequate
        Assurance Requests, and (d) Granting Related Relief(the "Utilities Motion")

                  56.       The Debtor seeks entry of interim and final orders (a) approving the

Debtor's Proposed Adequate Assurance of payment for future utility services;(b)prohibiting

Utility Companies from altering, refusing, or discontinuing services; and (~) approving the

Debtor's proposed procedures for resolving Adequate Assurance Requests.

                  57.       In connection with the operation of their businesses and management of

their properties, the Debtor obtains electricity and natural gas and other similar services from a

number of utility companies or brokers.

                  58.       Uninterrupted Utility Services are essential to the Debtor's ongoing

business operations. The Debtor's gperations require electricity and gas for lighting, heating,


DOCS SF:96976.7 83990/001                            ~1
                Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 22 of 49



trash, sewer services, air conditioning, and telecommunications (including telephone and

Internet/data). Should any Utility Provider refuse or discontinue service, even for a-brief period,

the Debtor's business operations could be severely disrupted, and such disruption would

jeopardize the Debtor's. ability to operate their business. Accordingly, it is essential that the

Utility Services continue uninterrupted during the chapter 11 case.

                 59.        The Debtor intends to pay postpetition obligations owed to the Utility

Companies in a timely manner. Cash held by the Debtor, cash generated in the ordinary cpurse

of business, and cash available to the Debtors through their debtor in possession financing

facility, will provide sufficient liquidity to pay the Debtor's Utility Service obligations in

accordance with prepetition practice.

                  60.       To provide additional assurance of payment, the Debtor proposes to

deposit into a segregated account $20,p00, which represents an amount equal to approximately

one half of the Debtor's average monthly cost of Utility Services. The Adequate Assurance

Deposit will be held in the segregated account for the duration ofthis chapter 11 case. The

Debtor submits that the Adequate Assurance Deposit, in conjunction with the Debtor's ability to

pay fay future utility services in accordance with prepetition practice, constitutes sufficient

adequate assurance to the Utility Companies in full satisfaction of section 366 ofthe Bankruptcy

Code.

                  61.       Based on the foregoing, the relief requested in the Utilities Motion is not

prejudicial to any party-in-interest and, in fact, only benefits the Debtor's estate and its creditors.

Accordingly, I submit that the proposed adequate assurance is sufficient and that the relief




DOCS SF:96976.7 83990/001                            22
                Case 18-11625-KJC             Doc 2      Filed 07/10/18        Page 23 of 49



requested in the Utilities Mgtion is in the best interests of the Debtor's estate, its creditors and

parties-in-interest.
G.      Motion Pursuant to Sections 105(x), S07(a)(8), and 541(4) of the
        Bankruptcy Code for an Order Authorizing Payment of Prepetition Sales, Use
        and Franchise Taxes and Similar Taxes and Fees(the "Pret~etition Tax Motion")

                 62.        The Debtor seeks entry of an order authorizing the Debtor to pay any

Sales and Use Taxes, Personal Property Taxes and Business Fees in the ordinary course ofthe

Debtor's business, including, without limitation, Sales and Use Taxes or Franchise Taxes

subsequently determined on audit to be owed for periods prior to the Petition Date, authorizing

banks and financial institutions to honor and process checks and transfers related thereto.

                 63.        The Debtor further seeks authority to remit Prepetition Tax Obligations in

an aggregate amount(excluding amounts paid prepetition by checks that have not yet cleareds

and amounts that may be subsequently determined on sales tax audit or adjustment to be owed a

particular Taxing Authority or party who ordinarily collects the Prepetition Tax Obligations) not

to exceed $309,000, without prejudice to the Debtor's rights to contest the amounts of any

Prepetition Tax Obligations on any grounds it deems appropriate.

                  64.       The Debtor estimates that, as of the Petition Date, it owes the approximate

amount in Prepetition Tax Obligations:

                              T e of Tax                            Pre etition Amount
                              Sales &Use Tax                                     $70,000
                              Personal Property Tax                             $234,000
                              Business Licenses, Permits &                        $5,000
                              Other Fees
                              Total                                                $309,000



5 The Debtor requests authority to reissue any amounts paid by check prepetition that have not cleared as ofthe
Petition Date and are dishonored.


DOCS SP:96976.7 83990/001                               23
                Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 24 of 49




                 65.        Accordingly, I believe payment of the Prepetition Tax Obligations is in the

best interest of the Debtor's estate and therefore request that the Prepetition Tax Motion be

granted.

H.      Motion for Entry of an Order Authorizing the Debtor to (i) Pay and/or
        Honor Prepetition Wages, Salaries, Commissions,Incentive Payments,
        Employee Benefits, and Other Compensation and Pay Third Party and Contract
        Worl~ers;(ii) Remit Withholding Obligations and Deductions; (iii) Maintain
        Employee Compensation and Benefits Programs and Pay Related Administrative
        Obligations; and (iv) Have Applicable Banks and Other Financial Institutions
        Recei`~e, Process, Honor, and Pay Certain Checks Presented for Payment and
        Honor Certain Fund Transfer Requests (the "Wade and Benefits Motion")

                 66.        The Debtor requests, in its sole discretion, the authority (a)to pay and

honor, inter alia, certain prepetition claims of Employees for Wages and pay Third Party Labor

Provider Costs,(b) pay and honor employee benefits and expense reimbursements and honor

and pay commissions and incentive payments owed to certain non-insider Employees

(collectively, the "Benefits" and, together with Wages,the "Wages and Benefits"); (c)remit

withholding obligations and employee deductions and. withholdings, and (d)to continue to pay

and honor such Wages and Benefits as they become due postpetition in the ordinary course of the

Debtors' business.

                  67.       As of the Petition Date, the Debtor employed 55 Employees, vvho are all

employed full time. The Employees are not unionized.

                  68.       The Debtor's Employees are paid current. Employees are paid twice per

month, on the fifteenth and last day of the month (each, a "Bi-Monthly Pav Date"). The latest Bi-

Monthly Pay Date occurred on June 29, 2018, which compensated employees for services

rendered during the period of June 16 through June 30, 2018. As of the Petition Date, employees




DOCS SF:96976.7 83990/001                            ~4
                Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 25 of 49




have accrued wages or salary for the period of July 1-9, 201 ~. For this period, the Debtor

estimates it ouves approximately $236,800 an account of accrued, but unpaid wages,for

Employees (the "Unpaid Wages")

                 69.        As part of the relief requested in this Motion, the Debtor seeks authority to

permit One Source Virtual("OSV")to continue to process the Debtor's payroll obligations in the

ordinary course of business. On a monthly basis, the Debtor pays OSV fees to process their

payroll. The Debtor is seeking authorization to pay OSV to the extent that any prepetition fees

are still outstanding not to exceed $300.00.

                 70.        Goss Pay Deductions and Payroll Taxes. For each applicable pay period,

the Debtor routinely deducts certain amounts from each Employee's gross payroll, including,

without limitation, garnishments, child support, spousal support, and similar deductions and

other pre-tax and post-tax deductions payable pursuant to the employee benefit plans discussed

herein (including, for example, the Employee's share of health care benefits, contributions under

flexible spending plans, 401(k) contributions, legally ordered deductions, and miscellaneous

deductions)(collectively, the "Deductions"). As set forth below, the Deductions are not property

of the I3ebtar or its estate and are withheld frapn Employees' grass payroll and remitted to the

appropriate third parties. On average, the Debtor's payroll Deductions total approximately

$54,750 each Bi-Monthly Pay Date. As of the Petition Date, certain ofthe Deductions may not

yet have been transmitted tQ the appropriate third party recipients and the Debtor requests

authority to transfer any Deductions to the appropriate third party recipients or as may be

required under applicable nonbankruptcy law.




DOCS SF:96976.7 83990/001                             25
                Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 26 of 49




                 71.        In addition to the Deductions, federal and state laws require the Debtor t~

withhold amounts related to federal, state, and local income taxes, Social Security, and Medicare

taxes for remittance to the appropriate federal, state, or local taxing authorities (collectively, the

"Withholdin~Obligations"). The Debtor must also pay, from its own funds, for Social Security

and Medicare taxes and pay, based on a percentage of gross payroll, additional amounts for

federal and state unemployment insurance (collectively the "Emplo ey r Payroll Taxes," and,

tpgether with the Withholding Obligations, the "Payro,ll Taxes"). On average, the Payroll Taxes

far each Bi-Monthly Pay Date, including both the Employee and employer portions, totaled

approximately $30,900.

                 72.        Tq the extent any of the repetition Deductions or Payroll Taxes have not

yet been forwarded to the appropriate third-party recipients, the Debtor seeks authority to

forward such amounts(and to continue to forward Deductions and Payroll Taxes on a

postpetition basis whether qr not related to the prepetition period)to the applicable third-party

recipients in the ordinary course of business and consistent with past practice.

                  73.       Reimbursable Expenses. Employees customarily incur business expenses

in the ordinary caurs~ of performing their duties on behalf ~f the Debtor. such expenses may

include, but are not limited to, cell phone expenses, office supply purchases and business-related

travel expenses, including air travel, car rental, lodging, meal charges, ground transportation, and

miscellaneous other allowed travel expenses (the "Reimbursable Expenses"). In addition, certain

Employees have corporate-issued American Express credit cards upon which Reimbursable

Expenses are charged and for which the Employees are personally responsible, but which

invoices are paid by the Debtor to the extent the charges are authorized.


DOCS SF:96976.7 83990/001                             26
                Case 18-11625-KJC          Doc 2    Filed 07/10/18    Page 27 of 49



                  74.       Generally, Employees pay for the Reimbursable Expenses personally and

submit expense reports through a formal system to the Debtor for reimbursement. In some cases,

Employees may not have submitted reimbursement requests in time to have been processed prior

to the Petition Date. In addition, certain Employees have corporate-issued credit cards upon

which Reimbursable Expenses are charged and for which the Employees are personally

responsible, but which invoices are paid by the Debtor to the.extent the charges are authorized.

Historically, Employees incur, on average, approximately $36,000 per month in Reimbursable

Expenses, including corporate credit card expenses, although these amounts can vary from

month to month depending an the amount of expenses incurred at any given time. In light of the

recent reduction in farce, the Debtor expects an increase in valid Reimbursable Expenses and

seeks authority to pay unpaid prepetition Reimbursable Expenses owed as ofthe Petition Date,

not to exceed $83,000, and to continue to honor, reimburse, and pay postpetition Reimbursable

Expenses in the ordinary course of business in its discretion.

                  75.       Health Benefits. The Debtor provides health insurance to Employees,

including, inter alia, medical, dental, vision, disability, COBRA,flexible spending accounts,

health reimburs~rrrent accounts, and dependent care benefits (collectively, the "Health Plans"), as

described in more detail below. Each pay period, Employees make contributions toward the

Health Plan premiums far medical, dental and vision coverage, and the Debtor deducts the

Employees' portions of the premiums, if applicable, owing under the Health Plans from their

Wages as Deductions.


         Medical Plans




DOCS SF:96976.7 83990/001                          ~7
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 28 of 49




                 76.        The Debtor gffers all Employees and legal dependents company-

subsidized medical insurance (the "Medical Plans"). The Debtor offers medical benefits through

Aetna (either a high or low deductible plan) and Kaiser, which provides an HMO based plan for

California Employees only. Far both providers, the Debtor remits a monthly premium on the first

of each month for coverage during that month. The monthly premium paid to Aetna is

approximately $53,000, which includes the portion that is paid by Employees. The monthly

premium paid to Kaiser is approximately $11,750. The Debtor is invoiced at the beginning of

each month for that month's coverage and the Debtor pays such invoice on net thirty terms (i.e.,

at the end ofthe month). Employees contribute their respective share through deductions from

the wages twice a month when they are paid and the Debtor uses those deduction to make the full

payment. For example, fifty percent of the Employees' share is deducted on the first Bi-Monthly

Pay Date and the remainder on the second Bi-Monthly Pay Date.

                  77.       The Debtor seeks authority to continue to offer the Medical Plans,

administer Employee withhpldings, and pay to Aetna and Kaiser the amount owed under the

Medical Plans postpetition in the ordinary course of business and in the Debtor's discretion.

                  7$,       As of the Petitian Date, the Debtor estimates only the premiums for July

2018 are outstanding on account of period prior to the Petition Date. The Debtor seeks authority

to pay those premiums in the amounts described above to Aetna and Kaiser.

    Dental Plan

                  79.       The Debtor offers all Employees and legal dependents company-

subsidized dental insurance (the "Dental Plan"). The Debtor offers Dental benefits through

Cigna. The Debtor remits a monthly premium on the first of each month for coverage during that


DOCS SF:96976.7 83990/001                           2g
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 29 of 49




month. The monthly premium paid to Cigna is approximately $5,000, which includes the portion

that is paid by Employees. The Debtor is invoiced at the beginning of each month for that

month's coverage and the Debtor pays such invoice on net thirty terms (i.e., at the end of the

month). Employees contribute their respective share through deductions from the wages twice a

month when they are paid and the Iaebtor uses those deduction to make the full payment. For

example, fifty percent of the Employees' share is deducted on the first Bi-Monthly Pay Date and

the remainder on the second Bi-Monthly Pay Date.

                 80.        The Debtor seeks authority to continue to offer the Dental Plan, administer

Employee withholdings, and pay to Cigna amounts owed under the Dental Plan postpetition in

the ordinary course of business and in the Debtor's discretion.

                 81.        As of the Petition Date, the Debtor estimates only the premium for July

2018 is outstanding. The Debtor seeks authority to pay to Cigna any unpaid prepetition claims in

the amount described above.


        ~i~ian Plan

                  82.       The Debtor also provides Employees with vision insurance through a self-

insured, premium-based policy issued by VSP (the "Vision Flan"). The Vision Plan provides

several types of services, including eyeglass lenses, frames, and contact lenses. The Vision Plan

provides both in-network and out-of-network services. The Vision Plan is by the Debtor and by

Employees through withholdings from payroll.

                  83.       The monthly premium paid to VSP is approximately $6,000, which

includes the portion that is paid by Employees. The Debtor is invoiced at the beginning of each




DOCS SF:96976.7 83990/001                            29
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 30 of 49




month for that month's coverage and the Debtor pays such invoice on net thirty terms (i.e., at the

end of the month). Employees contribute their respective share thxough deductions from the

wages twice a month when they are. paid and the Debtor uses those deduction to make the full

payment. For example, fifty percent of the Employees' share is deducted on the first Bi-Monthly

Pay Date and the remainder on the second Bi-Monthly Pay Date.

                 84.        The Debtor seeks authority to continue to offer the Vision Plan, administer

Employee withholdings, and pay to VSP amounts owed under the Vision Plan postpetition in the

ordinary course of business and in the Debtor's discretion.

                  85.       As of the Fetition Date, the Debtor estimates only the premium for July

2018 is outstanding. The Debtor seeks authority to day to Cigna any unpaid prepetition claims in

the amount described above.

                  86.       COBRA. The Consolidated Omnibus Budget Reconciliation Act

("COBRA")gives workers and their families who lose their health benefits the right to choose to

continue the group health benefits provided by their group health plan for limited periods of time

under certain circumstances, such as voluntary or involuntary job loss, reduction in the hours

worked, transition between jobs, death, divorce, and other life events. COBRA generally

requires that group health plans sponsored by employers with 20 or more employees in the prior

year offer employees and their families the opportunity for. a temporary extension of health

coverage (called continuation coverage) in certain instances where coverage under the plan

would otherwise end. Former Employees electing to receive COBRA benefits pay a fixed

premium to Aetna, the Debtor's COBRA administrator, totaling approximately $28,500 per

month. As of the Petition Date, the Debtor believes there are approximately $2,800 putstanding


ROCS SF:96976.7 83990/001                            3~
                Case 18-11625-KJC          Doc 2   Filed 07/10/18    Page 31 of 49




prepetition administrative COBRA fees that may lie paved. The Iaebtor seeks authority tp pay

any unpaid prepetition COBRA administrative fees up tp $2,$00 to Aetna, and to continue to pay

~pstpetition CQBRA administrative fees in the ordinary course of business and in the Debtor's

discretion.

                 87.        Flexible Spending Accounts and Dependent Gaye Spending Accounts. The

Debtor offers eligible Employees the ability to contribute a portion of their pre-tax compensation

to pay for certain health care and expenses or dependent care expenses through a program (the

"Flexible/D~endent Care Spending Account Pro~,ram") managed by Bank of America. Flexible

spending accounts and dependent care spending accounts are funded with Deductions from

participating Employees' pre-tax payroll, all pursuant to applicable IRS guidelines. The Debtor

estimates that they withhold approximately $64,000 per month to fund participating Employees'

flexible spending accounts and dependent care spending accounts as Deductions. In addition, the

Debtor pays Bank of America approximately $400.00 per month in fees to administer the

Flexible Spending Account Program. The Debtor seeks authority to honor its obligations under

the Flexible Spending Account Program, and to continue to pay any amounts under the Flexible

Spending Account Program in the ordinary caurse of business and in their discretion.

                  88.       Life InsuNance, Accidental Death & DismembeNment, and Disability

Plans. The Debtor provides basic life and accidental death and dismemberment coverage to full-

time Employees participating in the Debtor's medical plan (the "Basic Life and AD&D

Insurance Plan") through Life Insurance Company of North America(Cigna) at no cost to

eligible Employees. The Debtor pays all premiums in connection with the Basic Life and

AD&D Insurance Plan, which is approximately $25,000 per month.


DOCS SF:96976.7 83990/001                          31
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 32 of 49



                 89.        Additionally, the Debtor offers supplemental life, short term and long term

disability insurance to their eligible Employees with Life Insurance Company of North America

(Cigna)(the "Disability and Sutaplemental Life Insurance Plan"). Employees may voluntarily

elect supplemental life, short term and long term disability insurance under the Disability and

Supplemental Life Insurance Plan. The Debtor pays Life.Insurance Company of North America

(Cigna) premiums in the approximate aggregate amount of$4,000 per month, and Employees

reimburse the Debtor for the cost ofthe Disability and Supplemental Life Insurance Plan out of

payroll deductions.

                  90.       The Debtor estimates that they remit approximately $29,000 per month on

account of premiums and administrative-fees under the Basic Life and AD&D Insurance Plan

and Disability and Supplemental Life Insurance Plan. The Debtor seeks authority to pay unpaid

prepetition amounts on account of the Basic Life and AD&D Insurance Plan and Disability and

Supplemental Life Insurance Plan up to $29,000, and to continue to pay postpetition premium

amounts on account ofthe Basic Life and AD&1~ Insurance Plan and Disability and

Supplemental Life Insurance Plan in the ordinary course of business and in the Debtor's

discretion.

                  91.       Holidays, Vacation and Sick Time. The Debtor provides holiday pay for

full-time Employees. All Employees holding a title of vice president(or a more senior position)

are not provided with a set amount of vacation time ("PTO"). All others earn fifteen days per

year that accrues in proportion to the amount of time worked for any year. The Debtor also offer

Employees paid sick time ("Sick Time"). The Debtor's Sick Time benefits consist of five days




DOGS SP:96976.7 83990/001                            32
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 33 of 49




der year based on the Emplpyee's anniversary date. [Jnused Sick Time is not paid at the time of

termination.

                 92.        By this Motion, the Debtor seeks authority to continue to honor their PTp

and Sick Time programs in tk~e ordinary course of business by allowing Employees to use

accrued prepetition FTO and Sick Time postpetition in the Debtor's discretion. The Debtor also

seeks authority, but not the obligation, in their sole discretion, to pay out any accrued and

prepetition PTO amounts that are owed to Employees solely to the extent their employment with

the Debtor is terminated postpetition, provided that no Employee shall be paid more than

$12,850 on account of all payments of accrued and prepetition amounts owing to such Employee

for wages and benefits including such PTO.

                  93.       401(k)Plan. The Debtor provides full-time Employees with a 401(k)

retirement plan (the "401~k~, Plan"). The Debtgr does nqt match Employee contributions.

Employee contributions are withheld from paychecks as Deductions. To the extent any

prepetition 401(k) Deductions have not yet been made,the Debtor seeks authority to process

those Deductions. The Debtor also seeks authority, in their discretion, to continue to their 401(k)

T'lan postpe~cition in the ordinary course of business, including continuing to rr~atch employee

contributions to the 401(k) Plan consistent with their 401(k)Plan policy.

                  94.       The Debtor employs Fidelity and ABD Retirement to audit and administer

the 401(k)Plan (the "401 k Plan Administration and Audit Fees"). The Debtor pays ABD

Retirement fees of approximately $6,250 per month to administer the 401(k)Plan. The Debtor

seeks authority pursuant to this Motion to pay up to $6,250 on account of prepetitian amounts




DOGS SF:96976.7 83990/001                           33
                Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 34 of 49




owed to ABD Retirement and to continue to pay postpetition amounts with respect to the 4p1(k)

Plan Audit in the ordinary course pf business and in their discretion.

                 95.        Wo~keNs' Compensation Insurance. Under the laws of various states, the

Debtor are required to maintain workers' compensation insurance to provide Employees with

coverage fqr injury claims arising from or related to their employment with the Debtor (the"WC

Claims"). The Debtor workers' compensation program is fully insured("WC Program"). For

the current coverage year, the Debtor will pay an estimated annual premium to Zurich in the

amount of $128,816 to be trued up based on actual wages after the coverage year ends. Of the

$128,816 annual premium, $34,991 was paid at the commencement of the current coverage year

January 31, 2018 through January 30, 2019 with the balance payable in nine (9)equal mpnthly

installments of$10,425. As ofthe Petition Date, the Debtor still awed three(~) monthly

installments for the months of August — Qctober 2p18. The Debtor hereby seeks authorization to

pay the WC Program Installments to Zurich as they come due in the ordinary course.

                  96.       In addition, for the claims administration process to operate in an efficient

manner and to ensure that the Debtor complies with their contractual obligations,-the Debtor

must continue to assess, determine, and adjudicate WC Glairns daring these chapter 11 cases.

Thus, the Debtor requests that the automatic stay be modified to allow it to continue to assess,

determine and adjudicate unpaid WC Claims in the ordinary course ofthe Debtor's business. In

addition, to the extent any employees assert claims under the WC Program, the Debtor requests

that the Court modify the automatic stay under section 362 ofthe Bankruptcy Code to permit the

employees to proceed with their claims under the WC Program and to allow Zurich to

administer, handle, defend, settle and/or day a claim covered by the WC Program and the costs


DOGS SF:96976.7 83990/001                             ~4
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 35 of 49




related thereto in accordance with the WC Frogram. For avoidance of doubt, this requested

modification of the automatic stay described in this paragraph pertains solely to claims under the

WC Program, and not to other claims made under different insurance policies.

                 97.        accordingly, I believe payment ofthe Wages and Benefits is in the best

interest ofthe Debtor's estate and therefore request that the Wage and Benefits Motion be

granted.

I.      Debtor's Motion Pursuant to 11 U.S.C. §§ 362 & 105(a)for Entry of Interim
        and Final Orders Establishing Notificati~ia and Hearing Procedures and
        Approving Restrictions on Certain Transfers of Interests in the Debtor's Estate


                 98.        The Debtor seeks to enforce the automatic stay by implementing court-

ordered procedures (the "Procedures") intended to protect Debtor's estate against the possible

loss of valuable tax benefits that could flow from inadvertent violations of the automatic stay.

Pursuant to sections 105(a) and 362 of the Bankruptcy Code, Debtor requests an order (the

"Interim Trading Order") authorizing the Debtor (i) to establish and implement restrictions and

notification requirements regarding the tax ownership and certain transfers ofthe stock ("Stock")

in the Debtor. The Debtor also seeks approval of a form of notice, which will be used to notify

holders of Stock whose actions could adversely affect Debtor's tax assets that the Procedures

have been established by order of this Court.

                  99.       The Debtor has certain attributes for U.S. federal income tax purposes (the

"Tax Attributes"), which are expected to include approximately $400,000,000 in estimated,

consolidated net operating less carryfgrwards("NOLs")by the end ofthe Debtor's 2018 taxable

year. The Tax Attributes may be valuable assets. Internal Revenue Code of 1986, as amended




DOCS SF:96976.7 83990/001                            35
                Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 36 of 49




(the "Tax Code") generally permits corporations tp carry forward its tax attributes to reduce

future taxable income. See I.R.C. § 172. Accordingly, absent any intervening limitations and

depending upon future operating results and the consummation of taxable asset dispositions by

Debtor, the Tax Attributes could substantially reduce the Debtor's U.S. federal income tax

liability, including during the pendency of the Chapter 11 Cases. The Tax Attributes are

available to offset any income realized through the taxable year that includes the effective date of

a chapter 11 plan, and potentially thereafter. The Tax Attributes could translate into future tax

savings over time and the availability of these tax savings may prove crucial to the financial

health of a reorganized Debtor.

                  100.      For the reasons discussed below, and consistent with the automatic stay,

the Debtor needs the ability to enforce the stay to preclude certain transfers and to monitor and

possibly object to other changes in the ownership of Stock. Specifically, trading of Stock could

adversely affect Debtor's future ability to utilize the Tax Attributes if too many five percent or

greater blocks of equity securities are created through purchases, sales, or issuances, or too many

shares are added to or sold from such blocks, such that, together with the previous trading by five

percent shareholders during the preceding ~hre~ year period, a section 3~2 Ov✓nership Change (as

defined below)is triggered prior to the consummation of a confirmed chapter 11 plan.

                  101.      The Debtor's ability to use the Tax Attributes to reduce future tax liability

is subject to certain statutory limitations. Sections 382 and 383 ofthe Tax Code limit a

corporation's use of its tax attributes to offset future income or tax after that corporation has

undergone an "ownership change" within the meaning of section 382 of the Tax Code

("section 382" and such ownership change, an "Ownership Change"). Pursuant to section 382,


DOCS SF:96976.7 83990/001                             36
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 37 of 49




an Ownership Change generally occurs when the percentage of a corporation's equity held by its

"5 percent shareholders"(within the meaning of section 382 of the Tax Code)increases by more

than SQ percentage points above the lowest percentage of ownership owned by such

shareholders) at any time during the relevant testing period (usually three years). In addition, an

Ownership Change can occur where a "50 percent shareholder"(within the meaning of section

382(g)(4)(D) ofthe Tax Code)claims a worthlessness deduction in respect of its direct or

indirect ownership of the corporation.

                  102.      In the event a corporation experiences an Ownership Change, section 382

generally imposes a limitation on the amount of NOLs and certain other tax attributes that can be

utilized in each subsequent year to offset income. Subject to a number of potentially applicable

adjustments, this limitation is generally equal to the product of(1)the equity value ofthe debtor

immediately before the change in ownership multiplied by(2)a long-term tax-exempt rate

prescribed by the U.S. Treasury(2.32% for an Ownership Change occurring during the month of

July 2018).. If the Debtor was to undergo an Ownership Change at a time prior to consummation

of a chapter 11 plan, the resulting annual limitation could result in a substantial portion of its

N(~Ls expiring unused.

                  103.      $y contrast, in the context ~f an pwnership Change that gccurs pursuant

to a confirmed chapter 11 plan, the rules relating to the limitations on the use of tax attributes are

more relaxed, particularly where the plan involves the retention or receipt of at least 50 percent

of the stock of the reorganized debtor by shareholders or "qualified creditors." See I.R.C. §

382(1)(5),(6). Paragraphs 11 and 12 below discuss the special rule under section 382(1)(5) ofthe

Internal Revenue Code ("section 382(1)(5)") that would.apply if Debtor's shareholders and


DOCS SF:96976.7 83990/001                           37
                Case 18-11625-KJC              Doc 2      Filed 07/10/18        Page 38 of 49




"qualified creditors" receive stock pursuant to the chapter 11 plan of reorganization constituting

at least 50% of the total value and voting power ~f Debtor's stock immediately after the

ownership change. Paragraph 106 below discusses the special rule under section 382(1)(6) ofthe

Internal Revenue Code ("section 382(1)(6)") that would apply if the Debtor does not satisfy the

eligibility requirements of section 382(1)(5) or elect put of that provision.

                  104.      Under section 382(1)(5), the limitations imposed by section 382 do not

apply to a debtor that undergoes an Ownership Change as a result of the consummation of a

chapter 11 plan if the plan provides that the persons or entities who owned the debtor's stock

immediately before the relevant Ownership Change and/or "qualified creditors" emerge from the

reorganization owning (as a result of its prigr gwnership of stock or claims that are "qualified

indebtedness") at least 50% of the total value and voting power ofthe debtor's stock

immediately after the Ownership Change. See I.R.C. § 382(1)(5)(A). Qualified creditors are, in

general, creditors who (i) held its claims continuously for at least 18 months at the time the

bankruptcy petition is filed or (ii) hold claims incurred in the ordinary course of the debtor's

business and held those claims continuously since they were incurred. Claims described in the

preceding sentence are `bquaiified indebtedness." S'ee I.R.C., § 382(1)(5)(E); Treas. Reg. § 1.3~2-

9(d)(2).

                  l OS.     The Debtor has 33,92Q,522 shares outstanding, with 86 registered holders

as of June 25, 2018, and 4,047 beneficial holders as of May 18, 2018.6 It is expected that Debtor

will undergo an Ownership Change for purposes of section 382 in the event it emerges from

chapter 11. In that event, the Debtor seeks to avail itself ofthe special relief afforded by section


~ These are the most recent quantities reported to the Debtor and represent the best information available.


DOCS SF:96976.7 83990/001                                3
                Case 18-11625-KJC             Doc 2      Filed 07/10/18        Page 39 of 49




382(1)(5)for changes in 9wnership under a confirmed chapter 11 plan. However, if the relief

requested herein is not granted, there is a significant risk that, as a result ofpre-consummation

trading, this special relief would not be available to Debtor and the use of Debtor's Tax

Attributes could be permanently impaired. Even if the Debtor is ultimately unable to satisfy the

requirements of section 382(1)(5) or determine that it is more advantageous to elect not tp accept

its benefits, it is still in the best interest of Debtor and its estate to restrict Stock trading that

could result in a change ofownership of the Debtor before the confirmation of a chapter 11

plan.

                  106.      In order for Debtor to qualify for the favorable valuation rule of section

382(1)(6), an Ownership Change must occur pursuant to the consummation of a chapter 11 plan.

Under section 382(1)(6), if Debtor experiences an Ownership Change pursuant to a confirmed

chapter 11 plan and section 382(1)(5) does not apply (either because Debtor elects out ofthat

provision or because its requirements are not satisfied), the value ofthe reorganized Debtor's

equity for the purposes of calculating the limitation under section 382 would reflect the increase

in value of the reorganized Debtor's.equity resulting from the restructuring of creditor claims in

the plan. Thus, to the extent the value of the Yeorganized I~ebtar's equity increases as a result of

the reorganization (cpmpared to the distressed value of Debtor's equity prior to the

reorganization), section 382(1)(6) will provide for a higher annual limitation than would




 As discussed above, if a change of ownership occurred before the confirmation of a chapter 11 plan, the limitation
under section 382 would be determined based on the equity value of Debtors immediately before the ownership
change. Consequently, Debtor's ability to use its NOLs could be severely limited. Accordingly, this Motion
proposes restrictions on Stock trading in order to guard against an ownership change and thereby to protect a
valuable asset of Debtor's estate.


ROCS SF:96976.7 83990/001                               39
                Case 18-11625-KJC            Doc 2    Filed 07/10/18     Page 40 of 49




otherwise be obtained under section 382 for an Ownership Change occurring during the time

Debtor is operating under chapter 11.

                  107.      I believe that the Debtor has significant Tax Attributes that would be

adversely affected (and could be effectively eliminated) by an Qwnership Change during the

pendency of these cases. If such an Ownership Change occurs, the valuation for determining the

annual amount of useable Tax Attributes would be at or close to zero, which may effectively

eliminate the availability of such Tax Attributes. It is therefore in the best interests ofthe Debtor

and its stakeholders to restrict trading that could result in an Ownership Change before the

effective date of a chapter 11 plan or applicable bankruptcy court order. Accordingly, the Debtor

respectfully requests that the Court approve the procedures proposed herein to protect Debtor's

ability to use the Tax Attributes during the pendency of these Chapter 11 Cases and potentially

thereafter.

J.      Debtor's Motion for Entry of an Order
        (a) Authorizing Debtor to Pay Prepetition Claim of
        Critical Vendors and (b) Granting Related Relief(the "Critical Vendor Motion")


                  108.      The Debtors seek the entry of an order,(a) authorizing, but not directing,

the Debtor to pay the prepetition claim (the "Critical Vendor Claim")of a single essential vendor

and service provider, Flash Global Logistics, Inc.("FGL" pr the "Critical Vendor"), in an

amount not to exceed $113,620.00 (the "Critical Vendor Cap")

                  109.      While the Debtor's business relies on its access to and relationship with a

network of vendors and suppliers, at this time in the Debtor's operations with a view to a

potential sale as going concern, there is no relationship more important to maintaining the value




DOCS SP:96976.7 83990/001                            ~Q
                Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 41 of 49




of the Debtor's ~iusiness than the Debtor's relationship with FCJL. The Debtor and FGL are

parties to a Master Services Agreement and Statement of Work, both dated December 2, 2014

(collectively, the "FGL Agreement"), pursuant to which FGL provides the Debtor with global

transportation and warehousing services for the Debtor's replacement parts. Specifically,

through the FGL Agreement,FGL receives and manages orders from the Debtor's customers

requiring replacement parts far mission critical equipment furnished by the Iaebtor tq its

customers. As dart of its agreements with its customers, depending qn the level of support

purchased, the Debtor commits to providing needed replacement parts within aforsr-hoasr to one

bresiness day tirriefranae after a customer's request. FC~L maintained a network of 120

distribution centers and forward stacking locations worldwide in order to meet that commitment

to the Debtor's customers.

                  110.      The Debtor's income is dependent entirely on its ability to meet its

obligations to its customers. The Debtor's customers include large enterprises throughout the

world that require uninterrupted access to the cloud infrastructure provided by the Debtor's

products. Central to the Debtor's commitment to its customers is its obligation to provide

needed replacement parts within four hours of a customerr's request. The Debtor is entirely

reliant on FGL's services to meet this commitment.

                  111.      Prior to the Petition Date, due to the Debtor's non-payment, FGL

suspended its services to the Debtor's customers, even though the FGL Agreement does not

permit FGL to terminate such services unilaterally. The Debtor had a choice either to undertake

the time and expense of seeking judicial recourse and obtain an injunction against FGL or make




DOCS SF:96976.7 83990/001                            41
                Case 18-11625-KJC            Doc 2     Filed 07/10/18      Page 42 of 49




at least a partial payment .against its outstanding debt to FGL, which it did, to restgre needed

services immediately.

                  112.      I believe that it is essential to the success of the Debtor's restructuring and

sales efforts that it is able to maintain its most critical services to its customers and that it is able

to continue to rely pn FGL to deliver such services to operate its business. Failure to continue

emergency replacement part delivery through FGL could have catastrophic consequences for the

Debtor and its customers. I do not believe that the Debtor would be able to identify an alternative

service provider, transition needed services tp the new provider, and create acceptable inventory

levels of parts at a new warehouse network within a reasonable timeframe and the Debtor cannot

continue to operate in the ordinary course while a replacement service provider is secured.

                  113:      Absent assurance of immediate payment, FGL again could refuse to

continue providing services to the Debtor's customers. The Debtor believes that it would be

extremely difficult, if not impossible, to replace FGL within a reasonable time without severe

disruption to the Debtor's business, particularly since FGL's services must be completed within a

very short time frame after a customer's request. Such harm would likely far outweigh the cost

of payment oi'FGL's claim. Indeed, by the time it would take the Taebtor to prepare the

necessary papers and appear at a hearing to obtain a Court order compelling FGL's performance,

irreparable harm could occur to customers' operations, as well as the Debtor's reputation for

dependability and the perceived value of the Debtor's business.

                  114.      Given the importance of the services provided by FGL,I believe that it is

imperative that the Debtor be granted, on an emergency basis, the flexibility and authority to

satisfy its modest prepetition claim, up to the Critical Vendor Cap, as any disruption in the


ROCS SF:96976.7 83990/001                             42
                Case 18-11625-KJC           Doc 2     Filed 07/10/18    Page 43 of 49



Debtox's ability tQ adequately stack its inventory and provide merchandise directly to its

customers would cause immediate and irreparable damage to the Debtor's business.

                  115.      The Debtor requires a continuing system and network in place to meet

customers' emergency requests for replacement parts in order for the Debtor to meet its

obligations to support hundreds of customer relationships. The Debtor is dependent entirely on

FGL for this critical function. Without uncompromised, uninterrupted and 100% assured access

to FGL's services, the Debtor's reputation as a reliable products and services provider could

suffer, the Debtor's numerous customer relationships could be jeopardized and the value of

Debtor's business significantly impaired. The Debtor cannot afford any risk of disruption

whatsoever at this critical juncture in its sale process.

I~.      Debtor's Motion for Entry of an Ordei•(i) Authorizing and
         Approving the Debtor's Key Employee Retention Program for
         Certain Non-insider Employees and (ii) Granting Related Relief


                  116.      By this motion, the Debtor is seeking entry of an order: (i) authorizing

and approving the. Debtor's Key Employee Retention Program (the "KERP"), substantially in the

form attached to the motion as Exhibit 2, for twenty-one(21)key non-insider employees

(collectively, the "Eli ig ble Employees"), providing for a total award pool of$348,000 in the

aggregate and (ii) granting related relief.

                  117.      Operating in the Silicon Valley in Northern California, which has close to

no unemployment in the highly competitive tech sector, the Debtor has been able to hire and

retain personnel such as the Eligible Employees using competitive salaries and commission

structures, benefits, and a stock appreciation rights program. However,I believe that the recent




DOCS SF:96976.7 83990/001                            43
                 Case 18-11625-KJC           Doc 2     Filed 07/10/18     Page 44 of 49



reductions in farce, the bankruptcy filing, and the marketing of the sale of the business will

negatively impact its ability t~ retain the Eligible Employees.

                  118.       First, the Debtor recently laid-off approximately 74% employees so that it

could better position itself to address short and long-term operating expenditures in the face of

declining revenues. Now with a skeletal staff, I believe that its remaining work-force will be

forced to look for alternative employment unless the Debtor can assure them they will be

compensated for their services as the Debtor markets its assets for sale.

                  119.       Second, the bankruptcy filing is likely to compound the atmosphere of

uncertainty to employees generally following the reduction in force that took place prior to the

Petition Date. The Eligible Employees specifically may be concerned that workforce reductions

are not complete and inevitable as the Debtor seeks to sell its assets and liquidate its remaining

affairs after the conclusion of any sale.

                   120.      Third, the bankruptcy filing will render the stock appreciation rights held

by the Eligible Employees worthless, and reduces compensation that such employees were

otherwise counting on.

                   121.      Fau~th, with a skeletal staff, rr~any of the Eligible Employees are expected

to assume significant additional duties and responsibilities foll9wing the bankruptcy filing.

These factors have greatly increased the risk that other companies in a highly competitive

employment market may successfully recruit the Eligible Employees, who are the Debtor's most

talented and experienced operating personnel. To maintain the consistency that is crucial to

providing the platfprm to market the Debtor's assets as a going concern or a stand-alone sale of

the key assets, the Debtor has developed the KERP.


DOCS SF:96976.7 83990/001.                            44
                Case 18-11625-KJC            Doc 2      Filed 07/10/18    Page 45 of 49



                  122.      The Debtor's prpposed KERP is attached as Exhibit 2 tp the Motion and

can be summarized as follpws:


                                   ~~'erage Inc~ivic~~aai      IYIax, It~di~~idual
     Mai.Participants                                                                     Total Cast
                                         ~~varci                    A.~ar~
        20 employees                     $16,571                    $30,000               $348,000


                  123.      The Debtor proposed awards for each Eligible Employee are identified on

Exhibit 2 attached hereto. The individual amounts have been determined through management's

analysis of the appropriate amount for each Eligible Employee taking into account all relevant

factors.

                  124.      Each Eligible Employee shall earn and be entitled to receive the full

amount of his or her retention payment on the KERP Payment Date (as defined below), so long

as he or she is employed by the Debtors through the closing or completion date of the sale of

substantially all ofthe Debtor's assets (the "Effective Date" or "KERP Pa my ent Date").

                  125.      Notwithstanding the foregoing, if an Eligible Employee's employment

with the Company is terminated prior to the Effective Date without Cause (as defined below), or

due to death or disability, then such Eligible Emplgyee shall earn and be entitled to receive the

retention payment on the KERP Payment date.

                  126.      As used in the KERP,the term "Cause" means any of the following

reasons:(a)the commission of any act.offraud, dishonesty, embezzlement or similar act against

the Debtor;(b) unauthgrized use or disclosure of any proprietary information or trade secrets of

the Debtor or any other party tp whom an Eligible Employee owes an obligation of

nondisclosure as a result of a relationship with the Debtor;(c) material breach of any obligations



DOCS SF:96976.7 83990/001                              45
                Case 18-11625-KJC          Doc 2    Filed 07/10/18   Page 46 of 49



under any written agreement or cpvenant with (or made for the benefit o~ the Debtor, provided

that an Eligible Employee will have seven (7)calendar days to cure such material breach to the

extent that it is curable;(d)conviction (including any plea of no contest) of a felony or a crime

involving moral turpitude;(e)failure or inability to perform any assigned duties after written

ngtice frpm the Debtor of, and a 7-day opportunity to cure, such failure or inability; or(~ gross

negligence or willful misconduct in the performance of any duties to the Debtor that has resulted

or is likely to result in damage to the Debtor.

                  127.      Payments under the KERF are subject to and conditioned upon approval

ofthe KERP by the Bankruptcy Cpurt presiding over the T.~ebtor's chapter 11 case. If

Bankruptcy Court approval is not obtained, the KERP shall be null and void and the Debtor will

have no obligation to make the payments under the KERP.

                  128.      Except as provided in the KERP,payments under the KERP will be in lieu

of any other .performance bonus, retentipn, or severance compensation otherwise payable to the

Eligible Employees by the Debtor pursuant to any prepetition bonus plan ar employment

agreement between the Eligible Employee and the Debtor. However, any Eligible Employee that

accrued "paid dine off'("FTC,"} prigr to the Petitio~l Bate wi11 still receive corrypensati~n for

such PTO upon termination to the extent permitted under any wage/benefit motion that is

approved by the Bankruptcy Cqurt.

                  129.      Except as otherwise provided in the KERP, upon approval ofthe KERP by

this Court, the Eligible Employees, in consideration of the benefits offered hereunder, shall

release the Debtor and all of the Debtor's present or former managers, equity holders, officers,

agents, financial advisors, attorneys, employees, partners, affiliates, representatives and their


DOCS SF:96976.7 83990/001                          46
                Case 18-11625-KJC           Doc 2    Filed 07/10/18     Page 47 of 49



respective property from any and all claims and causes of action which the Eligible Employees

may have in connection with their employment by the Debtor in any capacity whatsoever,

including as managers and/or officers of the Debtor, and including, but not limited, to any claim

or cause of action the Eligible Employees may have for unpaid salary, commissions and any

claims arising under any employment agreement by and between any Eligible Employee and the

Company (the "Claims"),provided, however, that the foregoing shall not operate as a waiver of

or release of any Claims that an Eligible Employee may have for claims against the Company for

(a) payment of wages earned by the employee but which remain unpaid,(b)retention payments

earned and due under the KERP,or (c)indemnification that arises from such employee's status,

to the extent applicable, as an Officer or representative of the Company pursuant to applicable

law and/or pursuant to an indemnification agreement between such employee and the Company.

                  130.      As noted above, the Eligible Employees are 21 key non-insider employees

identified by the Debtor, as listed on Exhibit 2 attached to the motion. These individuals hold

various titles with the Debtor, including: vice president, director, and senior manager of various

departments, among others.

                  131.      Natwithstandin~ the foregoing titles, the Eligible Employees do not

include any employee that: (a) reports directly to the Company's board of directors;(b)is

appointed directly by the Company's board;.(c) exercises managerial control over the Debtors'

operations as a whole;(d)controls Company policy generally; or(e) directs the Debtors' overall

corporate governance.

                  132.      The Debtor is amoderately-.sized enterprise whose activities are directed

primarily by the Chief Technology Officer (Kieran Harty) and Mr. Duffy as CRO (collectively,


DOCS SF:96976.7 83990/001                            47
                Case 18-11625-KJC           Doc 2    Filed 07/10/18    Page 48 of 49



"Senior Management"), whp are not Eligible Employees. While certain employees junior to

Senior Management may have the title of vice president, director, senior supervisor, or senior

manager, these employees do not exercise material levels of control over the Debtor's

governance, budgeting, operations, or strategic direction, as to warrant "insider" status.

                  133.      Thus, none of the Eligible Employees, although important to the Debtor's

businesses, qualify as an "insider" in terms of wielding executive power over the Debtor's

business and/or corporate affairs.

                  134.      I believe the award opportunities provided under the KERP are consistent

with market practice for similarly situated employers and are, both individually and in the

aggregate, reasonable under the circumstances of this chapter 11 case.

                               [Remainder ofpage intentionally left blank]




DOCS SF:96976.7 83990/001                           4$
                Case 18-11625-KJC        Doc 2     Filed 07/10/18     Page 49 of 49




                  I declare under penalty ~f perjury under the United Mates of America that the

foregoing is true and correct.

                                ~ day of July, 201$ at
                  Executed this ~                               ~          fl



                                               Robert J, I~~1f~"y




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